Case 1:05-cr-10034-.]DT Document 10 Filed 04/27/05 Page 1 of 2 Page|D 10

FILED BY`__`_____ DC
UNITED STATES DISTRICT COURT . ` ‘ '
WESTERN DISTRICT OF TENNESSEE 05 aPR _
Eastern Division 27 AH 9‘ lbs

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UNITED STATES 0F AMERICA Ctt?i?t; ;i;:?¢ §’ SFS?UOT

WD, of tt-t'_-tt@$b~‘
-vs- Case No. 1:05cr10034-001
LEAMON MATLOCK

 

ORDER OF DETENT|ON PEND|NG TRIAL
FlND|NGS
In accordance With the Bail Reform Act, 18 U.S.C. § 3142({), a detention hearing has been
held. The following facts and circumstances require the defendant to be detained pending trial.

No condition or combination of conditions of release will reasonably assure the
appearance of the defendant as required or the safety of any other person and the
community

This conclusion is based on the findings and analysis of the matters enumerated in 18 U.S.C.
§ 3142(g) as stated on the record in open court at the detention hearing.

DlRECTlONS REGARDING DETENT|ON

LEAMON MATLOCK is committed to the custody of the Attorney General or his designated representative
for confinement in a corrections facility separate, to the extent practicable, from persons awaiting or serving sentences
or being held in custody pending appeal. LEAMON MATLOCK shall be afforded areasonable opportunity for private
consultation with defense counsel. On order of a Court of the United States or on request of an attorney for the
government, the person in charge of the corrections facility shall deliver the Defendant to the United States marshal for
the purpose of an appearance in connection with a Court proceeding

//""`
Date: AprilZ'.", 2005 é. /AWJ¢¢~_

s. 'rHoMAs ANDE'RSON
UNITED sTATEs MAGISTRATE IUDGE

Thls document entered on the docket sheet tn oompllanee
with Rule 55 and/or 32(b) FRCrP on q

Notice of Distribution

This notice confirms a copy of the document docketed as number 10 in
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M. Dianne Smothers

FEDERAL PUBLIC DEFENDER
109 S. Highland Ave.

Ste. B-S

Jacl<son7 TN 38301

Angela R. Scott

State Attorney General's Offlce
P.O. Box 2825

Jacl<son7 TN 38302

Honorable J ames Todd
US DISTRICT COURT

